AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                    Middle District
                                 __________ Districtofof
                                                      Tennessee
                                                         __________
                                               )
           UNITED STATES OF AMERICA            ) JUDGMENT IN A CRIMINAL CASE
                       v.                      ) (For Revocation of Probation or Supervised Release)
                                               )
              KENNETH STRICKLAND               )
                                               ) Case No. 3:16CR00106-001
                                               ) USM No. 24815-075
                                               )
                                               ) Peter J. Strianse
                                                                                            Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                        1-11                       of the term of supervision.
G was found in violation of condition(s) count(s)                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                           Violation Ended
Violation No. 1               Answer questions asked by USPO truthfully                                    07/25/2019

Violation No. 2                 Live at an approved residence                                              07/25/2019
Violation No. 3                 Work full time at a lawful type of employment                              07/25/2019
Violation No. 4                 Notify of law enforcement contact or arrest in 72 hours                    07/25/2019

       The defendant is sentenced as provided in pages 2 through         6     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 7970                                             09/23/2020
                                                                                       Date of Imposition of Judgment
Defendant’s Year of Birth:          1993

City and State of Defendant’s Residence:                                                      Signature of Judge
Nashville, Tennessee
                                                                             Marvin E. Aspen, United States District Judge
                                                                                            Name and Title of Judge


                                                                                                09/24/2020
                                                                                                        Date




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                       Sheet 1A

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                                                  ADDITIONAL VIOLATIONS

                                                                                                            Violation
Violation Number               Nature of Violation                                                          Concluded
Violation No. 5                Furnish all financial records upon request                                   07/25/2019

Violation No. 6                Pay restitution as ordered                                                   07/25/2019

Violation No. 7                Not knowingly leave the federal judicial district                            07/25/2019

Violation No. 8                Not incur new debt or open additional line of credit                         07/25/2019

Violation No. 9                Must not commit another federal state or local crime                         07/25/2019

Violation No. 10               You must not unlawfully possess a controlled substance                       07/25/2019

Violation No. 11               Prohibited from possessing firearms                                          07/25/2019




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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   3       of   6
DEFENDANT: KENNETH STRICKLAND
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                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
16 months' custody with credit for time served effective July 25, 2019.




     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL




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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                                 Judgment—Page      4    of       6
DEFENDANT: KENNETH STRICKLAND
CASE NUMBER: 3:16CR00106-001
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 No term of supervised release ordered.




                                                  MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.     G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.



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                       Sheet 3A — Supervised Release
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DEFENDANT: KENNETH STRICKLAND
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                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                          Date




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